Case 5:21-cv-10937-JEL-EAS ECF No. 66, PageID.949 Filed 05/20/21 Page 1 of 11




Melvvin Jones Jr - Pro Se Plaaintiƴ   1935 Hosleer St - Fliint, Michigan 48503

Ph #810-9962-66225        Email:: meljjonesjr@gmail.ccom



IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                             CASE # 2:21-ccv-110937

                       Relaated case # 16 - 10444

                                      Transferred to District Court Judge Levey

       Disabled Pro Se Plaintiff Jones’ [mandatory]
JOINDER of Dr. Attisha [and] Dr. Reynolds:

Melvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan , Hamiltton Lincolnn Law Innstitute (Cntr. for Claass Action
Fairness), Dr. Mona Attisha, and Dr. Lawrence Reynoldds ---- Plaaintiƴs

v.

NAPOLI LAWFIR
            RM, and Attorney Corey Stern, Attorney Hunter and
Attorney Lanciotti ---- Defendants

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Case 5:21-cv-10937-JEL-EAS ECF No. 66, PageID.950 Filed 05/20/21 Page 2 of 11




         Disableed Pro Se Plaaintiƴ Melvvin Jones Jr.’’s FRCP Rulee 15
[mandatory] Joinder of Dr. Mona Attisha and Dr. Lawrence
Reynoldds:

         {and Jones’ request for notice that the
following news article was written};

“"Doctors                                 urge federal judge
to stop lead testing in Flint
water crisis being done with
'industrial' scanners

Serious health, legal and financial issues are being raised by two prominent doctors about how testing for lead in
thousands of Flint residents is being done in the pending Flint Water Crisis settlement.
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By: Jim Kiertzner



Posted at 5:51 PM, Apr 28, 2021 and last updated 7:43 PM, Apr 28, 2021



(WXYZ) — Serious health, legal and financial issues are being raised by
two prominent doctors about how testing for lead in thousands of Flint
residents is being done in the pending Flint water crisis settlement.

Ann Arbor Federal Judge Judith Levy has been asked to stop attorneys
from using a hand-held scanner mostly used in industrial settings and
not on humans. The testing is being done not in a clinic but in their law
office in Flint Township.

A positive lead test could mean bigger payouts to people and their
attorneys with $641 Million in the settlement.
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“The client will get paid more if there’s something in the bone
scan. We don’t know what that means. The attorney will get
paid more because the client will get paid more,” Dr.
Lawrence Reynolds, a Flint-area pediatrician tells 7 Action
News, who was among the early people to speak out about
the water crisis.

Dr. Reynolds filed an objection to the testing with this device
with Judge Levy in February.
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Dr. Mona Hanna-Attisha, the first voice to speak out about
the Flint Water Crisis and the effect on kids calls the testing
“maddening.”

Dr. Reynolds provided 7 Action News documentation that
shows the scanners are used in industrial settings including
testing for lead in toys and kids’ backpacks.

Dr. Reynolds tells 7 Action News, “Number one, it’s not for
humans. Number two until I filed my objection they did not register a
radiation-emitting piece of equipment with the state. It may be no more
than a dentist does when he x-rays kids. And that is true.”

The scans are being done by the law firm Napoli and Shkolnic based in
New York but at their Flint area office set up for the water litigation.
We have reached out to them and other attorneys using these tests and
have not heard back.

Other attorneys have been paying $500 a test to their clients
tested with this scanner.

“I’ve taken care of children in the Flint area for 29 years. And
if you want to see a pediatrician get worked up, just abuse
children. And this is abuse,” Dr. Lawrence tells 7 Action
News.

It is not clear when Judge Levy will take up this issue.
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Dr. Reynolds says he made a complaint about these tests to the
Michigan Department of Licensing and Regulatory Affairs. We have
not heard back from the state on the status of that complaint."


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 (as best that I, Melvin Jones Jr., can understand
such ….attached exhibit labeled “XRF
Analyzer” [i.e. AFTER DISCUSSIONS WITH MY
PRIMARY CAREGIVER (i.e. Colleen Connors)....
And is oƦered here to aid the District Court
(and/ or the Michigan State Supreme Court
and/ or the Michigan State Attorney General
[i.e. AG Dana Nessel] in providing
ADVISORY-OPINION) as to attorney
defendants Stern, Lanciotti, Hunter and
NAPOLI LAW FIRM}].
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      Respectfully Submitted.

Dat
Date: May 20th, 2021




signed : ……………………………………………………………………………..

     Melvin Jones Jr. - Disabled Black

African American Pro Se Plaintiff
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